                          UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION


 OYSTER OPTICS, LLC,

                        Plaintiff,
 v.

                                                             2:16-cv-01302-JRG
 CORIANT NORTH AMERICA, LLC ET AL.,
                                                             LEAD CASE

 INFINERA CORPORATION,                                       2:16-cv-01295-JRG

 ALCATEL-LUCENT USA INC.,                                    2:16-cv-01297-JRG

 FUJITSU NETWORK COMMUNICATIONS, INC.,                       2:16-cv-01299-JRG

 CISCO SYSTEMS, INC.,                                        2:16-cv-01301-JRG

 HUAWEI TECHNOLOGIES CO., LTD. ET AL.,                       2:16-cv-01303-JRG

                        Defendants.


               JOINT NOTICE REGARDING THE MARKMAN HEARING

       In an effort to streamline the Markman hearing on Monday, November 20, 2017, the Parties

have agreed to present and request that the Court hear argument on the following, specific terms:

       •   “energy level detector”

       •   “phase modulation”

       •   “OTDR”

       •   “the optical signals”

       •   “receiver”

As for the remaining terms, the Parties will rest on the papers unless the Court desires to hear

argument on specific additional terms.



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Dated: November 20, 2017   Respectfully submitted,

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                                CERTIFICATE OF SERVICE
      I hereby certify that all counsel of record who have consented to electronic service are

being served with a copy of this document via the Court’s CM/ECF system per Local Rule CV-

5(a)(3) on November 20, 2017.



                                                         /s/ James Wang                   .




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